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                                   STATEMENT OF RELATED CASES
                                INFORMATION REQUIRED BY LBR 1015-2
                 UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
  1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
     against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
     copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
     corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
     and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
     assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
     included in Schedule A/B that was filed with any such prior proceeding(s).)
   na

  2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
     Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
     debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
     debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
     complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
     and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
     any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
   na

  3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
     previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
     of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
     of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
     or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
     such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
     still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
     A/B that was filed with any such prior proceeding(s).)
   na

  4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
     been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
     proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
     pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
     that was filed with any such prior proceeding(s).)
   na


  I declare, under penalty of perjury, that the foregoing is true and correct.
   Executed at     Los Angeles, CA                                    , California.                     /s/ Jose Manuel Quinones
                                                                                                        Jose Manuel Quinones
   Date:           June 7, 2022                                                                         Signature of Debtor 1



                                                                                                         Signature of Debtor 2




                     This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

  October 2018                                                               Page 1              F 1015-2.1.STMT.RELATED.CASES

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                                                                     Main Document     Page 2 of 47
   Fill in this information to identify your case:

   Debtor 1                   Jose Manuel Quinones
                              First Name                           Middle Name                          Last Name

   Debtor 2
   (Spouse if, filing)        First Name                           Middle Name                          Last Name


   United States Bankruptcy Court for the:                  CENTRAL DISTRICT OF CALIFORNIA

   Case number           2:22-bk-12889
   (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                    amended filing



  Official Form 106Sum
  Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
  your original forms, you must fill out a new Summary and check the box at the top of this page.

   Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

   1.     Schedule A/B: Property (Official Form 106A/B)
          1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

          1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              39,305.77

          1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              39,305.77

   Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

   2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
          2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              33,260.00

   3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
          3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             103,373.82

          3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              97,941.71


                                                                                                                                       Your total liabilities $               234,575.53


   Part 3:        Summarize Your Income and Expenses

   4.     Schedule I: Your Income (Official Form 106I)
          Copy your combined monthly income from line 12 of Schedule I................................................................................             $              12,042.83

   5.     Schedule J: Your Expenses (Official Form 106J)
          Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              11,019.93

   Part 4:        Answer These Questions for Administrative and Statistical Records

   6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
               No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

             Yes
   7.     What kind of debt do you have?

                  Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                  household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                  Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
   Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2




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   Debtor 1    Jose Manuel Quinones                                                        Case number (if known) 2:22-bk-12889
              the court with your other schedules.

   8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
        122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $    12,042.83


   9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
        From Part 4 on Schedule E/F, copy the following:
        9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

        9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            103,373.82

        9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

        9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

        9e. Obligations arising out of a separation agreement or divorce that you did not report as
            priority claims. (Copy line 6g.)                                                               $                  0.00

        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


        9g. Total. Add lines 9a through 9f.                                                           $            103,373.82




  Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2




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                                                         Main Document     Page 4 of 47
   Fill in this information to identify your case and this filing:

   Debtor 1                   Jose Manuel Quinones
                              First Name               Middle Name                    Last Name

   Debtor 2
   (Spouse, if filing)        First Name               Middle Name                    Last Name


   United States Bankruptcy Court for the:      CENTRAL DISTRICT OF CALIFORNIA

   Case number           2:22-bk-12889                                                                                                            Check if this is an
                                                                                                                                                  amended filing



  Official Form 106A/B
  Schedule A/B: Property                                                                                                                          12/15
  In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
  think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
  Answer every question.

   Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

  1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

          No. Go to Part 2.
          Yes. Where is the property?



   Part 2: Describe Your Vehicles

  Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
  someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

  3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes


    3.1      Make:       Subaru                           Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
             Model:      Ascent                              Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
             Year:       2019                                Debtor 2 only                                          Current value of the      Current value of the
             Approximate mileage:           56000            Debtor 1 and Debtor 2 only                             entire property?          portion you own?
             Other information:                              At least one of the debtors and another
            Vehicle:
                                                             Check if this is community property                            $28,000.00                  $28,000.00
                                                              (see instructions)



    3.2      Make:       Subaru                           Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
             Model:      Forester                            Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
             Year:       2012                                Debtor 2 only                                          Current value of the      Current value of the
             Approximate mileage:           30000            Debtor 1 and Debtor 2 only                             entire property?          portion you own?
             Other information:                              At least one of the debtors and another
            Vehicle: has a lot of engine
            issues                                           Check if this is community property                             $1,000.00                    $1,000.00
                                                              (see instructions)




  Official Form 106A/B                                                Schedule A/B: Property                                                                    page 1




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   Debtor 1        Jose Manuel Quinones                                                                               Case number (if known)       2:22-bk-12889

    3.3    Make:      Nissan                                    Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                                the amount of any secured claims on Schedule D:
           Model:     Frontier                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
           Year:      2009                                         Debtor 2 only                                                Current value of the      Current value of the
           Approximate mileage:                 40000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
           Other information:                                      At least one of the debtors and another
           Vehicle: non operational vehicle
           after severe car accident                               Check if this is community property                                      $300.00                    $300.00
                                                                    (see instructions)




  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes



   5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
     .pages you have attached for Part 2. Write that number here.............................................................................=>                 $29,300.00


   Part 3: Describe Your Personal and Household Items
   Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.
  6. Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
       No
          Yes. Describe.....

                                      Furniture                                                                                                                      $1,200.00


  7. Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                including cell phones, cameras, media players, games
        No
          Yes. Describe.....

                                      Electronics                                                                                                                    $2,000.00


  8. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
          No
          Yes. Describe.....

  9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
               musical instruments
       No
          Yes. Describe.....

                                      Miscellaneous sport equipment                                                                                                  $1,000.00


  10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
          Yes. Describe.....


  Official Form 106A/B                                                    Schedule A/B: Property                                                                           page 2




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                                            Firearms                                                                                                                   $1,000.00


  11. Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....

                                            Clothes                                                                                                                     $400.00


  12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

                                            Jewelry                                                                                                                     $500.00


  13. Non-farm animals
      Examples: Dogs, cats, birds, horses
       No
        Yes. Describe.....

                                            Pet dog                                                                                                                        $0.00


  14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


   15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here ..............................................................................                                           $6,100.00


   Part 4: Describe Your Financial Assets
   Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

  16. Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
        Yes................................................................................................................

                                                                                                                                 Cash on hand                           $200.00


  17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
       No
       Yes........................                                     Institution name:


                                              17.1.       Checking                                Wells Fargo                                                          $1,233.61



                                              17.2.       Checking                                Wells Fargo                                                           $216.04



  Official Form 106A/B                                                                     Schedule A/B: Property                                                          page 3




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                                     17.3.    Savings                      Wells Fargo                                                                 $56.12


  18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                Institution or issuer name:

  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
      joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                        % of ownership:

  20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

  21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                           Institution name:

  22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                              Institution name or individual:


                                                                           Security Deposit: Security Deposit Held By                                $2,200.00
                                                                           Landlord RD And KD Properties


  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

   Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
  Official Form 106A/B                                              Schedule A/B: Property                                                                page 4




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   Debtor 1        Jose Manuel Quinones                                                                                            Case number (if known)        2:22-bk-12889
                                                                                                                                                                    claims or exemptions.

  28. Tax refunds owed to you
          No
          Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
          No
          Yes. Give specific information......


  30. Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                benefits; unpaid loans you made to someone else
          No
          Yes. Give specific information..

  31. Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
          No
          Yes. Name the insurance company of each policy and list its value.
                                   Company name:                                                                        Beneficiary:                                 Surrender or refund
                                                                                                                                                                     value:

  32. Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.
          No
          Yes. Give specific information..


  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
          No
          Yes. Describe each claim.........

  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
          No
          Yes. Describe each claim.........

  35. Any financial assets you did not already list
          No
          Yes. Give specific information..


   36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here.....................................................................................................................               $3,905.77


   Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
         No. Go to Part 6.

         Yes. Go to line 38.


                                                                                                                                                                    Current value of the
                                                                                                                                                                    portion you own?
                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                    claims or exemptions.

  38. Accounts receivable or commissions you already earned
          No
          Yes. Describe.....

  Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 5




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  39. Office equipment, furnishings, and supplies
      Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
          No
          Yes. Describe.....


  40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
          No
          Yes. Describe.....


  41. Inventory
          No
          Yes. Describe.....


  42. Interests in partnerships or joint ventures
          No
          Yes. Give specific information about them...................
                                     Name of entity:                                                                                 % of ownership:


  43. Customer lists, mailing lists, or other compilations
         No.
         Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                    No
                    Yes. Describe.....


  44. Any business-related property you did not already list
       No
          Yes. Give specific information.........


                                               The Mint Leaf Construction, Inc.
                                               Sole Share Holder                                                                                                                    $0.00


                                               Point View Holdings, LLC
                                               Debtor and Spouse are each shareholder with 25%
                                               (50% total) interest. Company owns rental property
                                               Commonly known as: 20792 Point View Dr. Groveland 95321                                                                              $0.00



   45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.....................................................................................................................                   $0.00

   Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.


  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


   Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




  Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 6




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   Debtor 1         Jose Manuel Quinones                                                                                                  Case number (if known)   2:22-bk-12889

  53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
          No
          Yes. Give specific information.........


   54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

   Part 8:         List the Totals of Each Part of this Form

   55. Part 1: Total real estate, line 2 ......................................................................................................................                      $0.00
   56. Part 2: Total vehicles, line 5                                                                           $29,300.00
   57. Part 3: Total personal and household items, line 15                                                       $6,100.00
   58. Part 4: Total financial assets, line 36                                                                   $3,905.77
   59. Part 5: Total business-related property, line 45                                                              $0.00
   60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
   61. Part 7: Total other property not listed, line 54                                             +                $0.00

   62. Total personal property. Add lines 56 through 61...                                                      $39,305.77              Copy personal property total           $39,305.77

   63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $39,305.77




  Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 7




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   Fill in this information to identify your case:

   Debtor 1                Jose Manuel Quinones
                           First Name                   Middle Name                Last Name

   Debtor 2
   (Spouse if, filing)     First Name                   Middle Name                Last Name


   United States Bankruptcy Court for the:        CENTRAL DISTRICT OF CALIFORNIA

   Case number           2:22-bk-12889
   (if known)                                                                                                                        Check if this is an
                                                                                                                                     amended filing


  Official Form 106C
  Schedule C: The Property You Claim as Exempt                                                                                                             4/22

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
  the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
  needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
  case number (if known).

  For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
  specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
  any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
  funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
  exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
  to the applicable statutory amount.

   Part 1:        Identify the Property You Claim as Exempt

   1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

             You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

             You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

   2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
        Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
        Schedule A/B that lists this property             portion you own
                                                          Copy the value from    Check only one box for each exemption.
                                                          Schedule A/B

        2019 Subaru Ascent 56000 miles                           $28,000.00                                      $0.00    C.C.P. § 703.140(b)(2)
        Vehicle:
        Line from Schedule A/B: 3.1                                                   100% of fair market value, up to
                                                                                      any applicable statutory limit

        2012 Subaru Forester 30000 miles                          $1,000.00                                 $1,000.00     C.C.P. § 703.140(b)(2)
        Vehicle: has a lot of engine issues
        Line from Schedule A/B: 3.2                                                   100% of fair market value, up to
                                                                                      any applicable statutory limit

        2009 Nissan Frontier 40000 miles                              $300.00                                 $300.00     C.C.P. § 703.140(b)(2)
        Vehicle: non operational vehicle after
        severe car accident                                                           100% of fair market value, up to
        Line from Schedule A/B: 3.3                                                   any applicable statutory limit

        Furniture                                                 $1,200.00                                 $1,200.00     C.C.P. § 703.140(b)(3)
        Line from Schedule A/B: 6.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

        Electronics                                               $2,000.00                                 $2,000.00     C.C.P. § 703.140(b)(3)
        Line from Schedule A/B: 7.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit




  Official Form 106C                                Schedule C: The Property You Claim as Exempt                                                     page 1 of 2




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   Debtor 1    Jose Manuel Quinones                                                               Case number (if known)     2:22-bk-12889
       Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
       Schedule A/B that lists this property            portion you own
                                                        Copy the value from    Check only one box for each exemption.
                                                        Schedule A/B

       Miscellaneous sport equipment                           $1,000.00                                  $1,000.00        C.C.P. § 703.140(b)(5)
       Line from Schedule A/B: 9.1
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

       Firearms                                                $1,000.00                                  $1,000.00        C.C.P. § 703.140(b)(5)
       Line from Schedule A/B: 10.1
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

       Clothes                                                    $400.00                                   $400.00        C.C.P. § 703.140(b)(3)
       Line from Schedule A/B: 11.1
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

       Pet dog                                                       $0.00                                     $0.00       C.C.P. § 703.140(b)(3)
       Line from Schedule A/B: 13.1
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

       Checking: Wells Fargo                                   $1,233.61                                  $1,233.61        C.C.P. § 703.140(b)(5)
       Line from Schedule A/B: 17.1
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

       Checking: Wells Fargo                                      $216.04                                   $216.04        C.C.P. § 703.140(b)(5)
       Line from Schedule A/B: 17.2
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

       Savings: Wells Fargo                                        $56.12                                    $56.12        C.C.P. § 703.140(b)(5)
       Line from Schedule A/B: 17.3
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

       Security Deposit: Security Deposit                      $2,200.00                                  $2,200.00        C.C.P. § 703.140(b)(5)
       Held By Landlord RD And KD
       Properties                                                                   100% of fair market value, up to
       Line from Schedule A/B: 22.1                                                 any applicable statutory limit

       The Mint Leaf Construction, Inc.                              $0.00                                     $0.00       C.C.P. § 703.140(b)(5)
       Sole Share Holder
       Line from Schedule A/B: 44.1                                                 100% of fair market value, up to
                                                                                    any applicable statutory limit

       The Mint Leaf Construction, Inc.                              $0.00                                     $0.00       C.C.P. § 703.140(b)(6)
       Sole Share Holder
       Line from Schedule A/B: 44.1                                                 100% of fair market value, up to
                                                                                    any applicable statutory limit


   3. Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                    No
                    Yes


  Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                       page 2 of 2




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   Fill in this information to identify your case:

   Debtor 1                   Jose Manuel Quinones
                              First Name                       Middle Name                     Last Name

   Debtor 2
   (Spouse if, filing)        First Name                       Middle Name                     Last Name


   United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

   Case number           2:22-bk-12889
   (if known)                                                                                                                                              Check if this is an
                                                                                                                                                           amended filing

  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
  is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
  number (if known).
  1. Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.
   Part 1:         List All Secured Claims
                                                                                                                Column A                Column B                    Column C
   2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As     Amount of claim         Value of collateral         Unsecured
   much as possible, list the claims in alphabetical order according to the creditor’s name.                    Do not deduct the       that supports this          portion
                                                                                                                value of collateral.    claim                       If any
           SUBARU MOTORS
   2.1                                                                                                              $33,260.00                 $28,000.00               $5,260.00
           FINANCE                                  Describe the property that secures the claim:
           Creditor's Name                          2019 Subaru Ascent 56000 miles
                                                    Vehicle:
                                                    As of the date you file, the claim is: Check all that
           PO Box 78232                             apply.
           Phoenix, AZ 78232                            Contingent
           Number, Street, City, State & Zip Code       Unliquidated
                                                        Disputed
   Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                  An agreement you made (such as mortgage or secured
                                                         car loan)
         Debtor 2 only
         Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another        Judgment lien from a lawsuit
         Check if this claim relates to a               Other (including a right to offset)
         community debt

   Date debt was incurred          11/10/2021                Last 4 digits of account number        4102


     Add the dollar value of your entries in Column A on this page. Write that number here:                                  $33,260.00
     If this is the last page of your form, add the dollar value totals from all pages.
     Write that number here:                                                                                                 $33,260.00

   Part 2:       List Others to Be Notified for a Debt That You Already Listed
   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
   than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
   debts in Part 1, do not fill out or submit this page.

   [ ]
                Name, Number, Street, City, State & Zip Code                                         On which line in Part 1 did you enter the creditor?   2.1
                Chase Auto Finance
                Attn: Bankruptcy                                                                     Last 4 digits of account number   4102
                Po Box 901076
                Fort Worth, TX 76101




  Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                             page 1 of 1




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   Fill in this information to identify your case:

   Debtor 1                     Jose Manuel Quinones
                                First Name                    Middle Name                       Last Name

   Debtor 2
   (Spouse if, filing)          First Name                    Middle Name                       Last Name


   United States Bankruptcy Court for the:                CENTRAL DISTRICT OF CALIFORNIA

   Case number           2:22-bk-12889
   (if known)                                                                                                                                           Check if this is an
                                                                                                                                                        amended filing

  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
  any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
  Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
  Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
  left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
  name and case number (if known).
   Part 1:        List All of Your PRIORITY Unsecured Claims
   1.    Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.

             Yes.
   2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
         identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
         possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
         Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                         Total claim       Priority              Nonpriority
                                                                                                                                           amount                amount
   2.1          FTB                                                 Last 4 digits of account number                            $2,122.82          $2,122.82                   $0.00
                Priority Creditor's Name
                PO BOX 942867                                       When was the debt incurred?             01/1/2004
                Sacramento, CA 94267-0011
                Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.                             Contingent
                Debtor 1 only                                           Unliquidated
                Debtor 2 only                                           Disputed
                Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

                At least one of the debtors and another                 Domestic support obligations

                Check if this claim is for a community debt             Taxes and certain other debts you owe the government
          Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
                No                                                      Other. Specify
                Yes                                                                       Taxes due between 2004 and 2020

   2.2          IRS                                                 Last 4 digits of account number                         $101,251.00        $101,251.00                    $0.00
                Priority Creditor's Name
                PO BOX 9019                                         When was the debt incurred?             01/1/2014
                Holtsville, NY 11742-9019
                Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.                             Contingent
                Debtor 1 only                                           Unliquidated
                Debtor 2 only                                           Disputed
                Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

                At least one of the debtors and another                 Domestic support obligations

                Check if this claim is for a community debt             Taxes and certain other debts you owe the government
          Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
                No                                                      Other. Specify
                Yes                                                                       Taxes owed for 2017-2020

  Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 6
                                                                                                                 50916




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   Part 2:       List All of Your NONPRIORITY Unsecured Claims
   3.    Do any creditors have nonpriority unsecured claims against you?

            No. You have nothing to report in this part. Submit this form to the court with your other schedules.

            Yes.

   4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
         unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
         than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
         Part 2.
                                                                                                                                                                Total claim

   4.1        Affirm, Inc.                                              Last 4 digits of account number         TE8L                                                        $1,679.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy                                                                                  Opened 10/21 Last Active
              30 Isabella St, Floor 4                                   When was the debt incurred?             3/28/22
              Pittsburgh, PA 15212
              Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                   Debtor 1 only                                           Contingent
                   Debtor 2 only                                           Unliquidated
                   Debtor 1 and Debtor 2 only                              Disputed
                   At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                   Student loans
              debt                                                         Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                           report as priority claims

                   No                                                      Debts to pension or profit-sharing plans, and other similar debts

                   Yes                                                     Other. Specify    Unsecured


   4.2        Amex                                                      Last 4 digits of account number         8253                                                        $6,179.00
              Nonpriority Creditor's Name
              Correspondence/Bankruptcy                                                                         Opened 10/17 Last Active
              Po Box 981540                                             When was the debt incurred?             4/24/22
              El Paso, TX 79998
              Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                   Debtor 1 only                                           Contingent
                   Debtor 2 only                                           Unliquidated
                   Debtor 1 and Debtor 2 only                              Disputed
                   At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                   Student loans
              debt                                                         Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                           report as priority claims

                   No                                                      Debts to pension or profit-sharing plans, and other similar debts

                   Yes                                                     Other. Specify    Credit Card




  Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 6




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   4.3     Artisan Bloc LLC                                    Last 4 digits of account number                                                     $36,084.00
           Nonpriority Creditor's Name
           co Lane Agoura Rd Suite 120                         When was the debt incurred?
           Agoura Hills, CA 91301
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                      Contingent
               Debtor 2 only                                      Unliquidated
               Debtor 1 and Debtor 2 only                         Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community             Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

               No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                   Pending lawsuit - Commercial Unlawful
               Yes                                                Other. Specify   Detainer


   4.4     Capital One                                         Last 4 digits of account number       0690                                           $1,650.00
           Nonpriority Creditor's Name
                                                                                                     Opened 12/16 Last Active
           Po Box 31293                                        When was the debt incurred?           5/09/22
           Salt Lake City, UT 84131
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                      Contingent
               Debtor 2 only                                      Unliquidated
               Debtor 1 and Debtor 2 only                         Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community             Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

               No                                                 Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                Other. Specify   Credit Card


   4.5     Chase Card Services                                 Last 4 digits of account number       1694                                          $13,756.00
           Nonpriority Creditor's Name
                                                                                                     Opened 04/19 Last Active
           Po Box 15369                                        When was the debt incurred?           4/19/22
           Wilmington, DE 19850
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                      Contingent
               Debtor 2 only                                      Unliquidated
               Debtor 1 and Debtor 2 only                         Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community             Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

               No                                                 Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                Other. Specify   Credit Card




  Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 6




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   4.6     Citibank North America                              Last 4 digits of account number       5964                                           $5,792.00
           Nonpriority Creditor's Name
           Citibank SD MC 425                                                                        Opened 05/19 Last Active
           5800 South Corp Place                               When was the debt incurred?           05/22
           Sioux Falls, SD 57108
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                      Contingent
               Debtor 2 only                                      Unliquidated
               Debtor 1 and Debtor 2 only                         Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community             Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

               No                                                 Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                Other. Specify   Credit Card


   4.7     DiJulio Law group                                   Last 4 digits of account number       1201                                           $4,400.00
           Nonpriority Creditor's Name
           330 N Brand Blvd #702                               When was the debt incurred?           05/1/2022
           Glendale, CA 91203
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                      Contingent
               Debtor 2 only                                      Unliquidated
               Debtor 1 and Debtor 2 only                         Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community             Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

               No                                                 Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                Other. Specify   Attorneys' Fee


                                                                                                     Jose
   4.8     DSC Physical Terapy                                 Last 4 digits of account number       Quinones                                        $360.00
           Nonpriority Creditor's Name
           1346 Foothil Blvd                                   When was the debt incurred?           06/19/2020
           Ste#101
           La Canada, CA 91011
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                      Contingent
               Debtor 2 only                                      Unliquidated
               Debtor 1 and Debtor 2 only                         Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community             Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

               No                                                 Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                Other. Specify




  Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 6




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   4.9       RD & KD properties                                  Last 4 digits of account number                                                           $10,623.71
             Nonpriority Creditor's Name
             2015 Port Ramsgate Place                            When was the debt incurred?
             Newport Beach, CA 92660
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.

                Debtor 1 only                                       Contingent

                Debtor 2 only                                       Unliquidated

                Debtor 1 and Debtor 2 only                          Disputed
                At least one of the debtors and another          Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community             Student loans
             debt                                                   Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                     report as priority claims

                No                                                  Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                 Other. Specify   Utilities


   4.1
   0         US Bank/RMS                                         Last 4 digits of account number       7498                                                $13,838.00
             Nonpriority Creditor's Name
             Attn: Bankruptcy                                                                          Opened 11/19 Last Active
             Po Box 5229                                         When was the debt incurred?           4/11/22
             Cincinnati, OH 45201
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.

                Debtor 1 only                                       Contingent
                Debtor 2 only                                       Unliquidated
                Debtor 1 and Debtor 2 only                          Disputed
                At least one of the debtors and another          Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community             Student loans
             debt                                                   Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                     report as priority claims

                No                                                  Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                 Other. Specify   Credit Card


   4.1
   1         Wells Fargo Bank NA                                 Last 4 digits of account number       7366                                                 $3,580.00
             Nonpriority Creditor's Name
             1 Home Campus Mac X2303-01a                                                               Opened 03/17 Last Active
             3rd Floor                                           When was the debt incurred?           5/02/22
             Des Moines, IA 50328
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.

                Debtor 1 only                                       Contingent
                Debtor 2 only                                       Unliquidated
                Debtor 1 and Debtor 2 only                          Disputed
                At least one of the debtors and another          Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community             Student loans
             debt                                                   Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                     report as priority claims

                No                                                  Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                 Other. Specify   Credit Card

   Part 3:     List Others to Be Notified About a Debt That You Already Listed
  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
     is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
     have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
     notified for any debts in Parts 1 or 2, do not fill out or submit this page.

  Official Form 106 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 5 of 6




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   Debtor 1 Jose Manuel Quinones                                                                          Case number (if known)         2:22-bk-12889

   Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
   Lane Nussbaum                                               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
   27489 Agoura Road Suite 102                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
   Agoura Hills, CA 91301
                                                               Last 4 digits of account number


   Part 4:       Add the Amounts for Each Type of Unsecured Claim
  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.

                                                                                                                                Total Claim
                          6a.   Domestic support obligations                                                6a.       $                           0.00
   Total
   claims
   from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.       $                  103,373.82
                          6c.   Claims for death or personal injury while you were intoxicated              6c.       $                        0.00
                          6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                        0.00

                          6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                  103,373.82

                                                                                                                                Total Claim
                          6f.   Student loans                                                               6f.       $                           0.00
   Total
   claims
   from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                                you did not report as priority claims                                       6g.       $                           0.00
                          6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                          6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                                here.                                                                                 $                    97,941.71

                          6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                    97,941.71




  Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 6 of 6




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   Fill in this information to identify your case:

   Debtor 1                  Jose Manuel Quinones
                             First Name                         Middle Name            Last Name

   Debtor 2
   (Spouse if, filing)       First Name                         Middle Name            Last Name


   United States Bankruptcy Court for the:               CENTRAL DISTRICT OF CALIFORNIA

   Case number           2:22-bk-12889
   (if known)                                                                                                                             Check if this is an
                                                                                                                                          amended filing



  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
  additional pages, write your name and case number (if known).

  1.     Do you have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

  2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
         example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
         and unexpired leases.


             Person or company with whom you have the contract or lease                   State what the contract or lease is for
                             Name, Number, Street, City, State and ZIP Code

       2.1       RD And KD Properties                                                       Residential Lease
                 22 Rosy Finch Ln
                 Aliso Viejo, CA 92656




  Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1




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   Fill in this information to identify your case:

   Debtor 1                     Jose Manuel Quinones
                                First Name                            Middle Name        Last Name

   Debtor 2
   (Spouse if, filing)          First Name                            Middle Name        Last Name


   United States Bankruptcy Court for the:                   CENTRAL DISTRICT OF CALIFORNIA

   Case number             2:22-bk-12889
   (if known)                                                                                                                           Check if this is an
                                                                                                                                        amended filing


  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                            12/15

  Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
  people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
  fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
  your name and case number (if known). Answer every question.

         1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

             No
             Yes

         2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
         Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

             No. Go to line 3.
             Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                         No
                         Yes.


                           In which community state or territory did you live?           California      . Fill in the name and current address of that person.
                           Anastasiya Rybalkina
                           Name of your spouse, former spouse, or legal equivalent
                           Number, Street, City, State & Zip Code

     3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
        in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
        Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
        out Column 2.

                  Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                  Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

      3.1                                                                                                   Schedule D, line
                  Name
                                                                                                            Schedule E/F, line
                                                                                                            Schedule G, line
                  Number               Street
                  City                                        State                       ZIP Code




      3.2                                                                                                   Schedule D, line
                  Name
                                                                                                            Schedule E/F, line
                                                                                                            Schedule G, line
                  Number               Street
                  City                                        State                       ZIP Code




  Official Form 106H                                                                 Schedule H: Your Codebtors                                      Page 1 of 1




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   Fill in this information to identify your case:

   Debtor 1                      Jose Manuel Quinones

   Debtor 2
   (Spouse, if filing)

   United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

   Case number               2:22-bk-12889                                                                Check if this is:
   (If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter
                                                                                                              13 income as of the following date:

   Official Form 106I                                                                                         MM / DD/ YYYY
   Schedule I: Your Income                                                                                                                           12/15
  Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
  supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
  spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
  attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

   Part 1:               Describe Employment

   1.     Fill in your employment
          information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

          If you have more than one job,                                 Employed                                   Employed
          attach a separate page with           Employment status
                                                                         Not employed                               Not employed
          information about additional
          employers.
                                                Occupation
          Include part-time, seasonal, or
          self-employed work.                   Employer's name

          Occupation may include student        Employer's address
          or homemaker, if it applies.


                                                How long employed there?

   Part 2:               Give Details About Monthly Income

  Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
  spouse unless you are separated.

  If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
  more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse

          List monthly gross wages, salary, and commissions (before all payroll
   2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $              0.00       $             N/A

   3.     Estimate and list monthly overtime pay.                                             3.   +$              0.00       +$            N/A

   4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $           0.00              $      N/A




  Official Form 106I                                                       Schedule I: Your Income                                                page 1


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   Debtor 1   Jose Manuel Quinones                                                                  Case number (if known)    2:22-bk-12889


                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
        Copy line 4 here                                                                     4.         $              0.00     $             N/A

   5.   List all payroll deductions:
        5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
        5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
        5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
        5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
        5e.    Insurance                                                                     5e.        $              0.00     $               N/A
        5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
        5g.    Union dues                                                                    5g.        $              0.00     $               N/A
        5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
   6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
   7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
   8.   List all other income regularly received:
        8a. Net income from rental property and from operating a business,
               profession, or farm
               Attach a statement for each property and business showing gross
               receipts, ordinary and necessary business expenses, and the total
               monthly net income.                                                           8a.        $              0.00     $               N/A
        8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
        8c. Family support payments that you, a non-filing spouse, or a dependent
               regularly receive
               Include alimony, spousal support, child support, maintenance, divorce
               settlement, and property settlement.                                          8c.        $              0.00     $               N/A
        8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
        8e. Social Security                                                                  8e.        $              0.00     $               N/A
        8f.    Other government assistance that you regularly receive
               Include cash assistance and the value (if known) of any non-cash assistance
               that you receive, such as food stamps (benefits under the Supplemental
               Nutrition Assistance Program) or housing subsidies.
               Specify:                                                                      8f.        $              0.00     $               N/A
        8g. Pension or retirement income                                                     8g.        $              0.00     $               N/A
                                                  Owner's Draw from Mint Leaf
        8h.    Other monthly income. Specify:     Construction                               8h.+ $            12,042.83 + $                    N/A

   9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          12,042.83        $               N/A

   10. Calculate monthly income. Add line 7 + line 9.                                    10. $              12,042.83 + $            N/A = $          12,042.83
       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
   11. State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
       other friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
       Specify:                                                                                                                  11. +$                    0.00

   12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
       Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
       applies                                                                                                                        12.   $         12,042.83
                                                                                                                                            Combined
                                                                                                                                            monthly income
   13. Do you expect an increase or decrease within the year after you file this form?
             No.
             Yes. Explain:




  Official Form 106I                                                      Schedule I: Your Income                                                       page 2


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     Fill in this information to identify your case:

     Debtor 1                 Jose Manuel Quinones                                                              Check if this is:
                                                                                                                    An amended filing
     Debtor 2                                                                                                       A supplement showing postpetition chapter
     (Spouse, if filing)                                                                                            13 expenses as of the following date:

     United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

     Case number           2:22-bk-12889
     (If known)



     Official Form 106J
     Schedule J: Your Expenses                                                                                                                                  12/15
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
     number (if known). Answer every question.

     Part 1:   Describe Your Household
     1. Is this a joint case?
                No. Go to line 2.
                Yes. Does Debtor 2 live in a separate household?
                           No
                           Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

     2.    Do you have dependents?               No
           Do not list Debtor 1 and              Yes.
                                                        Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
           Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

           Do not state the                                                                                                                       No
           dependents names.                                                            Son                                  9                    Yes
                                                                                                                                                  No
                                                                                        Son                                  12                   Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
     3.    Do your expenses include                     No
           expenses of people other than
           yourself and your dependents?                Yes

     Part 2:    Estimate Your Ongoing Monthly Expenses
     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
     applicable date.

     Include expenses paid for with non-cash government assistance if you know
     the value of such assistance and have included it on Schedule I: Your Income
     (Official Form 106I.)                                                                                                        Your expenses


     4.    The rental or home ownership expenses for your residence. Include first mortgage
           payments and any rent for the ground or lot.                                                          4. $                             2,295.00

           If not included in line 4:

           4a. Real estate taxes                                                                               4a.    $                              0.00
           4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
           4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            100.00
           4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
     5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




    Official Form 106J                                                    Schedule J: Your Expenses                                                            page 1



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     Debtor 1     Jose Manuel Quinones                                                                      Case number (if known)      2:22-bk-12889

     6.    Utilities:
           6a. Electricity, heat, natural gas                                                     6a. $                                                250.00
           6b. Water, sewer, garbage collection                                                   6b. $                                                  0.00
           6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                330.00
           6d. Other. Specify:                                                                    6d. $                                                  0.00
     7.    Food and housekeeping supplies                                                           7. $                                             1,250.00
     8.    Childcare and children’s education costs                                                 8. $                                               500.00
     9.    Clothing, laundry, and dry cleaning                                                      9. $                                               150.00
     10.   Personal care products and services                                                    10. $                                                100.00
     11.   Medical and dental expenses                                                            11. $                                                300.00
     12.   Transportation. Include gas, maintenance, bus or train fare.
           Do not include car payments.                                                           12. $                                                 500.00
     13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 400.00
     14.   Charitable contributions and religious donations                                       14. $                                                   0.00
     15.   Insurance.
           Do not include insurance deducted from your pay or included in lines 4 or 20.
           15a. Life insurance                                                                  15a. $                                                    0.00
           15b. Health insurance                                                                15b. $                                                  868.00
           15c. Vehicle insurance                                                               15c. $                                                  213.76
           15d. Other insurance. Specify:                                                       15d. $                                                    0.00
     16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
           Specify: Taxes that would be due on drawn income                                       16. $                                              1,683.33
     17.   Installment or lease payments:
           17a. Car payments for Vehicle 1                                                      17a. $                                                  570.84
           17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
           17c. Other. Specify: FTB Payment Plan                                                17c. $                                                  100.00
           17d. Other. Specify:                                                                 17d. $                                                    0.00
     18.   Your payments of alimony, maintenance, and support that you did not report as
           deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
     19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
           Specify:                                                                               19.
     20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
           20a. Mortgages on other property                                                     20a. $                                                   0.00
           20b. Real estate taxes                                                               20b. $                                                   0.00
           20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
           20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
           20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
     21.   Other: Specify:    gym                                                                 21. +$                                               110.00
           contribution to Pint View Holding LLC                                                       +$                                            1,000.00
           travel expense for field trip to Puerto Rico in 2023                                        +$                                              239.00
           subscriptions                                                                               +$                                               60.00
     22. Calculate your monthly expenses
         22a. Add lines 4 through 21.                                                                                     $                      11,019.93
         22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
           22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      11,019.93
     23. Calculate your monthly net income.
         23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              12,042.83
         23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             11,019.93

           23c. Subtract your monthly expenses from your monthly income.
                The result is your monthly net income.                                                           23c. $                              1,022.90

     24. Do you expect an increase or decrease in your expenses within the year after you file this form?
           For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
           modification to the terms of your mortgage?
              No.
              Yes.             Explain here:




    Official Form 106J                                                   Schedule J: Your Expenses                                                                     page 2



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   Fill in this information to identify your case:

   Debtor 1                    Jose Manuel Quinones
                               First Name             Middle Name             Last Name

   Debtor 2
   (Spouse if, filing)         First Name             Middle Name             Last Name


   United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

   Case number              2:22-bk-12889
   (if known)                                                                                                                   Check if this is an
                                                                                                                                amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                  12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                         Sign Below


          Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                  No

                  Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                          Declaration, and Signature (Official Form 119)


         Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
         that they are true and correct.

          X /s/ Jose Manuel Quinones                                          X
                Jose Manuel Quinones                                              Signature of Debtor 2
                Signature of Debtor 1

                Date       June 7, 2022                                           Date




  Official Form 106Dec                               Declaration About an Individual Debtor's Schedules




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   Fill in this information to identify your case:

   Debtor 1                  Jose Manuel Quinones
                             First Name                  Middle Name                   Last Name

   Debtor 2
   (Spouse if, filing)       First Name                  Middle Name                   Last Name


   United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA

   Case number           2:22-bk-12889
   (if known)                                                                                                                              Check if this is an
                                                                                                                                           amended filing



  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.

   Part 1:        Give Details About Your Marital Status and Where You Lived Before

  1.     What is your current marital status?

                 Married
                 Not married

  2.     During the last 3 years, have you lived anywhere other than where you live now?

                 No
                 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

          Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                             lived there                                                                       lived there

  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
  states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                 No
                 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

   Part 2         Explain the Sources of Your Income

  4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
         Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
         If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                 No
                 Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income               Gross income                   Sources of income             Gross income
                                                  Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                                  exclusions)                                                  and exclusions)

   From January 1 of current year until             Wages, commissions,                       $44,228.00           Wages, commissions,
   the date you filed for bankruptcy:             bonuses, tips                                                  bonuses, tips

                                                     Operating a business                                           Operating a business




  Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1




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   Debtor 1     Jose Manuel Quinones                                                                      Case number (if known)   2:22-bk-12889


                                                   Debtor 1                                                       Debtor 2
                                                   Sources of income               Gross income                   Sources of income                  Gross income
                                                   Check all that apply.           (before deductions and         Check all that apply.              (before deductions
                                                                                   exclusions)                                                       and exclusions)

   For last calendar year:                           Wages, commissions,                      $165,004.00           Wages, commissions,
   (January 1 to December 31, 2021 )               bonuses, tips                                                  bonuses, tips

                                                      Operating a business                                           Operating a business


   For the calendar year before that:                Wages, commissions,                      $125,577.00           Wages, commissions,
   (January 1 to December 31, 2020 )               bonuses, tips                                                  bonuses, tips

                                                      Operating a business                                           Operating a business


  5.   Did you receive any other income during this year or the two previous calendar years?
       Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
       and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
       winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

       List each source and the gross income from each source separately. Do not include income that you listed in line 4.

              No
              Yes. Fill in the details.

                                                   Debtor 1                                                       Debtor 2
                                                   Sources of income               Gross income from              Sources of income                  Gross income
                                                   Describe below.                 each source                    Describe below.                    (before deductions
                                                                                   (before deductions and                                            and exclusions)
                                                                                   exclusions)

   Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

  6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                  individual primarily for a personal, family, or household purpose.”

                      During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                          No.      Go to line 7.
                          Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                  paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                  not include payments to an attorney for this bankruptcy case.
                      * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

              Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


        Creditor's Name and Address                           Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                    paid            still owe
        SUBARU MOTORS FINANCE                                 5/19/2022,                       $1,712.20          $33,260.00              Mortgage
        PO Box 78232                                          4/18/2022,                                                                  Car
        Phoenix, AZ 78232                                     3/18/2022,
                                                                                                                                          Credit Card
                                                                                                                                          Loan Repayment
                                                                                                                                          Suppliers or vendors
                                                                                                                                          Other




  Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2




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  7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
       of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
       a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
       alimony.

              No
              Yes. List all payments to an insider.
        Insider's Name and Address                           Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid            still owe

  8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
       insider?
       Include payments on debts guaranteed or cosigned by an insider.

              No
              Yes. List all payments to an insider
        Insider's Name and Address                           Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid            still owe       Include creditor's name

   Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

  9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

              No
              Yes. Fill in the details.
        Case title                                           Nature of the case           Court or agency                          Status of the case
        Case number
        Artisan Bloc LLC v. Jose Manuel                      Commercial                   Stanley Mosk Corthouse                      Pending
        Quinones, The Mint Leaf                              Unlawful Detainer            111 North Hill St                           On appeal
        Construction, Inc. et. al.                           Debtor is Personal           Los Angeles, CA 90012
                                                                                                                                      Concluded
        22STCV01593                                          Guarantor
                                                                                                                                   Trial 5/25/2022 10am


  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

              No. Go to line 11.
              Yes. Fill in the information below.
        Creditor Name and Address                            Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
              No
              Yes. Fill in the details.
        Creditor Name and Address                            Describe the action the creditor took                          Date action was                Amount
                                                                                                                            taken

  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
      court-appointed receiver, a custodian, or another official?

              No
              Yes




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   Part 5:     List Certain Gifts and Contributions

  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
              No
              Yes. Fill in the details for each gift.
        Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave               Value
        per person                                                                                                             the gifts

        Person to Whom You Gave the Gift and
        Address:

  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
              No
              Yes. Fill in the details for each gift or contribution.
        Gifts or contributions to charities that total                Describe what you contributed                            Dates you                    Value
        more than $600                                                                                                         contributed
        Charity's Name
        Address (Number, Street, City, State and ZIP Code)

   Part 6:     List Certain Losses

  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
      or gambling?

              No
              Yes. Fill in the details.
        Describe the property you lost and                  Describe any insurance coverage for the loss                       Date of your      Value of property
        how the loss occurred                               Include the amount that insurance has paid. List pending           loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

   Part 7:     List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

              No
              Yes. Fill in the details.
        Person Who Was Paid                                           Description and value of any property                    Date payment            Amount of
        Address                                                       transferred                                              or transfer was          payment
        Email or website address                                                                                               made
        Person Who Made the Payment, if Not You
        Law Office of Chris T. Nguyen, APC                            Attorney Fees                                            5/20/2022               $2,050.00
        16152 Beach Blvd
        Suite 200
        Huntington Beach, CA 92647
        chris@cnlawoffice.com


  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

              No
              Yes. Fill in the details.
        Person Who Was Paid                                           Description and value of any property                    Date payment            Amount of
        Address                                                       transferred                                              or transfer was          payment
                                                                                                                               made




  Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4




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  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
      include gifts and transfers that you have already listed on this statement.
           No
              Yes. Fill in the details.
        Person Who Received Transfer                                 Description and value of                   Describe any property or      Date transfer was
        Address                                                      property transferred                       payments received or debts    made
                                                                                                                paid in exchange
        Person's relationship to you
        Paul Dombrowski                                              two jet skis and trailer                   Value: 6500                   04/1/2022
        8123 Branding Iron Lane
        Riverside, CA 92508

        none


  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
      beneficiary? (These are often called asset-protection devices.)
              No
              Yes. Fill in the details.
        Name of trust                                                Description and value of the property transferred                        Date Transfer was
                                                                                                                                              made

   Part 8:      List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
      sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
      houses, pension funds, cooperatives, associations, and other financial institutions.
              No
              Yes. Fill in the details.
        Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was           Last balance
        Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,          before closing or
        Code)                                                                                                           moved, or                       transfer
                                                                                                                        transferred

  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
      cash, or other valuables?

              No
              Yes. Fill in the details.
        Name of Financial Institution                                Who else had access to it?            Describe the contents                Do you still
        Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                             have it?
                                                                     State and ZIP Code)


  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

              No
              Yes. Fill in the details.
        Name of Storage Facility                                     Who else has or had access            Describe the contents                Do you still
        Address (Number, Street, City, State and ZIP Code)           to it?                                                                     have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




  Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5




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   Part 9:     Identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
      for someone.

              No
              Yes. Fill in the details.
        Owner's Name                                               Where is the property?                     Describe the property                          Value
        Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                   Code)

   Part 10:    Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
       toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
       regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
       to own, operate, or utilize it, including disposal sites.
       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

              No
              Yes. Fill in the details.
        Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                   ZIP Code)

  25. Have you notified any governmental unit of any release of hazardous material?

              No
              Yes. Fill in the details.
        Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                   ZIP Code)

  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

              No
              Yes. Fill in the details.
        Case Title                                                 Court or agency                            Nature of the case                   Status of the
        Case Number                                                Name                                                                            case
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

   Part 11:    Give Details About Your Business or Connections to Any Business

  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation




  Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6




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               No. None of the above applies. Go to Part 12.

               Yes. Check all that apply above and fill in the details below for each business.
          Business Name                                        Describe the nature of the business               Employer Identification number
          Address                                                                                                Do not include Social Security number or ITIN.
          (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                 Dates business existed
          The Mint Leaf Construction                           general contractor                                EIN:         XX-XXXXXXX
          Company Inc
          3421 Drew St                                         Anastasiya Rybalkina                              From-To      started 10/01/2014, still operating
          Los Angeles, CA 90065

          Point View Holdings LLC                              rental property                                   EIN:         XX-XXXXXXX
          3955 E Lorencita Dr.
          West Covina, CA 91791                                Anastasiya Rybalkina                              From-To      started 9/2/2020, still operating


  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

               No
               Yes. Fill in the details below.
          Name                                                 Date Issued
          Address
          (Number, Street, City, State and ZIP Code)

   Part 12:     Sign Below

  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
  are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
  with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
  18 U.S.C. §§ 152, 1341, 1519, and 3571.

   /s/ Jose Manuel Quinones
   Jose Manuel Quinones                                                  Signature of Debtor 2
   Signature of Debtor 1

   Date      June 7, 2022                                                Date

  Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
     No
     Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
     No
     Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




  Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7




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   Fill in this information to identify your case:

   Debtor 1                 Jose Manuel Quinones
                            First Name               Middle Name               Last Name

   Debtor 2
   (Spouse if, filing)      First Name               Middle Name               Last Name


   United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

   Case number           2:22-bk-12889
   (if known)                                                                                                                Check if this is an
                                                                                                                             amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


  If you are an individual filing under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
          whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
          on the form

  If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
           sign and date the form.

  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
          write your name and case number (if known).

   Part 1:        List Your Creditors Who Have Secured Claims

  1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
     information below.
      Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                                 secures a debt?                                    as exempt on Schedule C?



      Creditor's         SUBARU MOTORS FINANCE                       Surrender the property.                                No
      name:                                                          Retain the property and redeem it.
                                                                     Retain the property and enter into a                   Yes
      Description of       2019 Subaru Ascent 56000                  Reaffirmation Agreement.
      property             miles
                                                                     Retain the property and [explain]:
                           Vehicle:
      securing debt:                                                Retain and pay if available

   Part 2:   List Your Unexpired Personal Property Leases
  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
  in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
  You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

   Describe your unexpired personal property leases                                                                Will the lease be assumed?

   Lessor's name:                                                                                                     No
   Description of leased
   Property:                                                                                                          Yes

   Lessor's name:                                                                                                     No
   Description of leased
   Property:                                                                                                          Yes



  Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                      page 1




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   Lessor's name:                                                                                                   No
   Description of leased
   Property:                                                                                                        Yes

   Lessor's name:                                                                                                   No
   Description of leased
   Property:                                                                                                        Yes

   Lessor's name:                                                                                                   No
   Description of leased
   Property:                                                                                                        Yes

   Lessor's name:                                                                                                   No
   Description of leased
   Property:                                                                                                        Yes

   Lessor's name:                                                                                                   No
   Description of leased
   Property:                                                                                                        Yes

   Part 3:     Sign Below

  Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
  property that is subject to an unexpired lease.

   X    /s/ Jose Manuel Quinones                                         X
        Jose Manuel Quinones                                                 Signature of Debtor 2
        Signature of Debtor 1

        Date       June 7, 2022                                          Date




  Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                page 2




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  Notice Required by 11 U.S.C. § 342(b) for
  Individuals Filing for Bankruptcy (Form 2010)


                                                                                            Chapter 7:         Liquidation
   This notice is for you if:
                                                                                                    $245      filing fee
         You are an individual filing for bankruptcy,
         and                                                                                         $78   administrative fee

         Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
         Consumer debts are defined in 11 U.S.C.
         § 101(8) as “incurred by an individual                                                     $338      total fee
         primarily for a personal, family, or
         household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                            difficulty preventing them from paying their debts
                                                                                            and who are willing to allow their non-exempt
   The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
   individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                            your debts discharged. The bankruptcy discharge
   Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
   one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                            for particular debts, and liens on property may still
         Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                            may have the right to foreclose a home mortgage or
         Chapter 11 - Reorganization                                                        repossess an automobile.

         Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                    for family farmers or                                                   certain kinds of improper conduct described in the
                    fishermen                                                               Bankruptcy Code, the court may deny your
                                                                                            discharge.
         Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                            You should know that even if you file chapter 7 and
                    income                                                                  you receive a discharge, some debts are not
                                                                                            discharged under the law. Therefore, you may still
                                                                                            be responsible to pay:
   You should have an attorney review your
   decision to file for bankruptcy and the choice of                                            most taxes;
   chapter.
                                                                                                most student loans;

                                                                                                domestic support and property settlement
                                                                                                obligations;




  Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1




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         most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
         restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                            results of the Means Test, the U.S. trustee, bankruptcy
         certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
         papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                            motion is filed, the court will decide if your case should
   You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                            proceed under another chapter of the Bankruptcy
         fraud or theft;                                                                    Code.

         fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
         fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                            subject to your right to exempt the property or a portion
         intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                            property, and the proceeds from property that your
         death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
         motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
         from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                            household items or to receive some of the proceeds if
   If your debts are primarily consumer debts, the court                                    the property is sold.
   can dismiss your chapter 7 case if it finds that you have
   enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
   You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
   Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
   individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
   form will determine your current monthly income and                                      proceeds to your creditors.
   compare whether your income is more than the median
   income that applies in your state.

   If your income is not above the median for your state,
   you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
   the Chapter 7 Means Test Calculation (Official Form
   122A–2).
                                                                                                        $1,167    filing fee
   If your income is above the median for your state, you
   must file a second form —the Chapter 7 Means Test                                           +           $571    administrative fee
   Calculation (Official Form 122A–2). The calculations on
                                                                                                        $1,738    total fee
   the form— sometimes called the Means Test—deduct
   from your income living expenses and payments on
                                                                                            Chapter 11 is often used for reorganizing a business,
   certain debts to determine any amount available to pay
                                                                                            but is also available to individuals. The provisions of
   unsecured creditors. If
                                                                                            chapter 11 are too complicated to summarize briefly.




  Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2




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         Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                            Under chapter 13, you must file with the court a plan
   Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
               farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                            the court approves your plan, the court will allow you
                                                                                            to repay your debts, as adjusted by the plan, within 3
                   $200     filing fee                                                      years or 5 years, depending on your income and other
   +                $78     administrative fee                                              factors.
                   $278     total fee
                                                                                            After you make all the payments under your plan,
   Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
   and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
   using future earnings and to discharge some debts that                                   pay include:
   are not paid.
                                                                                                   domestic support obligations,

                                                                                                   most student loans,
   Chapter 13: Repayment plan for
               individuals with regular                                                            certain taxes,
               income
                                                                                                   debts for fraud or theft,

                   $235     filing fee                                                             debts for fraud or defalcation while acting in a
   +                $78     administrative fee                                                     fiduciary capacity,
                   $313     total fee
                                                                                                   most criminal fines and restitution obligations,
   Chapter 13 is for individuals who have regular income
   and would like to pay all or part of their debts in                                             certain debts that are not listed in your
   installments over a period of time and to discharge                                             bankruptcy papers,
   some debts that are not paid. You are eligible for
   chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
   dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                   certain long-term secured debts.




  Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 3




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                                                                                            A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                            each spouse lists the same mailing address on the
   Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
   you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
   creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
   general financial condition. The court may dismiss your                                  each spouse receive separate copies.
   bankruptcy case if you do not file this information within
   the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
   Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

   For more information about the documents and                                             The law generally requires that you receive a credit
   their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
   http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                            case, both spouses must receive the briefing. With
                                                                                            limited exceptions, you must receive it within the 180
   Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                            briefing is usually conducted by telephone or on the
         If you knowingly and fraudulently conceal assets                                   Internet.
         or make a false oath or statement under penalty
         of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
         connection with a bankruptcy case, you may be                                      must complete a financial management instructional
         fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                            filing a joint case, both spouses must complete the
         All information you supply in connection with a                                    course.
         bankruptcy case is subject to examination by the
         Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
         U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
         other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
         Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

   Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
   The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
   address you list on Voluntary Petition for Individuals
   Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
   that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
   Bankruptcy Rule 4002 requires that you notify the court                                  the list.
   of any changes in your address.




  Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4




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  B2030 (Form 2030) (12/15)
                                                           United States Bankruptcy Court
                                                                Central District of California
    In re       Jose Manuel Quinones                                                                             Case No.      2:22-bk-12889
                                                                                 Debtor(s)                       Chapter       7

                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
  1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
        be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                For legal services, I have agreed to accept                                                  $                  2,050.00
                Prior to the filing of this statement I have received                                        $                  2,050.00
                Balance Due                                                                                  $                       0.00

  2.    The source of the compensation paid to me was:

                     Debtor             Other (specify):

  3.    The source of compensation to be paid to me is:

                     Debtor             Other (specify):

  4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
               copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

  5.        In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
        b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
        c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
        d.     [Other provisions as needed]
                    Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                    reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                    522(f)(2)(A) for avoidance of liens on household goods.

  6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                any other adversary proceeding.
                                                                        CERTIFICATION
         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
   this bankruptcy proceeding.

       June 7, 2022                                                              /s/ Chris T. Nguyen
       Date                                                                      Chris T. Nguyen 259922
                                                                                 Signature of Attorney
                                                                                 Law Office of Chris T. Nguyen, APC
                                                                                 16152 Beach Blvd
                                                                                 Suite 200
                                                                                 Huntington Beach, CA 92647
                                                                                 866-651-6118 Fax: 714-880-3251
                                                                                 chris@cnlawoffice.com
                                                                                 Name of law firm




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   Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
   Debtor 1              Jose Manuel Quinones
   Debtor 2                                                                                                  1. There is no presumption of abuse
   (Spouse, if filing)
                                                                                                             2. The calculation to determine if a presumption of abuse
   United States Bankruptcy Court for the:        Central District of California
                                                                                                                 applies will be made under Chapter 7 Means Test
                                                                                                                 Calculation (Official Form 122A-2).
   Case number           2:22-bk-12889
   (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                                 qualified military service but it could apply later.
                                                                                                             Check if this is an amended filing
  Official Form 122A - 1
  Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/19
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
  attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
  case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
  qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:           Calculate Your Current Monthly Income

    1. What is your marital and filing status? Check one only.
                Not married. Fill out Column A, lines 2-11.
                Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                   penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                   living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
      101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
      the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
      spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                   Column B
                                                                                                         Debtor 1                   Debtor 2 or
                                                                                                                                    non-filing spouse
    2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
       payroll deductions).                                                               $                               0.00      $              0.00
    3. Alimony and maintenance payments. Do not include payments from a spouse if
       Column B is filled in.                                                             $                               0.00      $              0.00
    4. All amounts from any source which are regularly paid for household expenses
       of you or your dependents, including child support. Include regular contributions
       from an unmarried partner, members of your household, your dependents, parents,
       and roommates. Include regular contributions from a spouse only if Column B is not
       filled in. Do not include payments you listed on line 3.                           $                               0.00      $              0.00
    5. Net income from operating a business, profession, or farm
                                                                         Debtor 1
          Gross receipts (before all deductions)                  $                12,042.83
          Ordinary and necessary operating expenses              -$                     0.00
          Net monthly income from a business,                                                  Copy
          profession, or farm                                     $                12,042.83 here -> $             12,042.83        $              0.00
    6. Net income from rental and other real property
                                                                                    Debtor 1
          Gross receipts (before all deductions)                         $         0.00
          Ordinary and necessary operating expenses                     -$         0.00
          Net monthly income from rental or other real property         $          0.00 Copy here -> $                    0.00      $              0.00
                                                                                                         $                0.00      $              0.00
    7. Interest, dividends, and royalties




  Official Form 122A-1                                 Chapter 7 Statement of Your Current Monthly Income                                                         page 1




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   Debtor 1     Jose Manuel Quinones                                                                   Case number (if known)   2:22-bk-12889


                                                                                                   Column A                     Column B
                                                                                                   Debtor 1                     Debtor 2 or
                                                                                                                                non-filing spouse
    8. Unemployment compensation                                                                   $                  0.00      $            0.00
         Do not enter the amount if you contend that the amount received was a benefit under
         the Social Security Act. Instead, list it here:
            For you                                          $                    0.00
              For your spouse                                     $                    0.00
    9. Pension or retirement income. Do not include any amount received that was a
        benefit under the Social Security Act. Also, except as stated in the next sentence, do
        not include any compensation, pension, pay, annuity, or allowance paid by the
        United States Government in connection with a disability, combat-related injury or
        disability, or death of a member of the uniformed services. If you received any retired
        pay paid under chapter 61 of title 10, then include that pay only to the extent that it
        does not exceed the amount of retired pay to which you would otherwise be entitled
        if retired under any provision of title 10 other than chapter 61 of that title.         $                     0.00      $            0.00
    10. Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act; payments
        received as a victim of a war crime, a crime against humanity, or international or
        domestic terrorism; or compensation pension, pay, annuity, or allowance paid by the
        United States Government in connection with a disability, combat-related injury or
        disability, or death of a member of the uniformed services. If necessary, list other
        sources on a separate page and put the total below..
                 .                                                                              $                     0.00      $            0.00
                                                                                                   $                  0.00      $            0.00
                   Total amounts from separate pages, if any.                                  +   $                  0.00      $            0.00

    11. Calculate your total current monthly income. Add lines 2 through 10 for
        each column. Then add the total for Column A to the total for Column B.            $    12,042.83           +   $           0.00     =   $     12,042.83

                                                                                                                                                 Total current monthly
                                                                                                                                                 income

   Part 2:        Determine Whether the Means Test Applies to You

    12. Calculate your current monthly income for the year. Follow these steps:
         12a. Copy your total current monthly income from line 11                                            Copy line 11 here=>             $         12,042.83

                Multiply by 12 (the number of months in a year)                                                                                      x 12
         12b. The result is your annual income for this part of the form                                                               12b. $         144,513.96

    13. Calculate the median family income that applies to you. Follow these steps:

         Fill in the state in which you live.                              CA

         Fill in the number of people in your household.                    4
         Fill in the median family income for your state and size of household.                                                        13.   $        111,535.00
         To find a list of applicable median income amounts, go online using the link specified in the separate instructions
         for this form. This list may also be available at the bankruptcy clerk’s office.
    14. How do the lines compare?
         14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                       Go to Part 3. Do NOT fill out or file Official Form 122A-2.
         14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A–2.
   Part 3:        Sign Below
                By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

               X /s/ Jose Manuel Quinones
                  Jose Manuel Quinones
                  Signature of Debtor 1

  Official Form 122A-1                               Chapter 7 Statement of Your Current Monthly Income                                                        page 2




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   Debtor 1   Jose Manuel Quinones                                                           Case number (if known)   2:22-bk-12889
          Date June 7, 2022
               MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




  Official Form 122A-1                               Chapter 7 Statement of Your Current Monthly Income                                      page 3




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   Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
   Debtor 1              Jose Manuel Quinones
   Debtor 2                                                                                                  1. There is no presumption of abuse
   (Spouse, if filing)

   United States Bankruptcy Court for the:        Central District of California                             2. The calculation to determine if a presumption of abuse
                                                                                                                 applies will be made under Chapter 7 Means Test
                                                                                                                 Calculation (Official Form 122A-2).
   Case number           2:22-bk-12889
   (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                                 qualified military service but it could apply later.
                                                                                                             Check if this is an amended filing
  Official Form 122A - 1
  Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/19
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
  attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
  case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
  qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:           Calculate Your Current Monthly Income

    1. What is your marital and filing status? Check one only.
                Not married. Fill out Column A, lines 2-11.
                Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                   penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                   living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
      101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
      the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
      spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                   Column B
                                                                                                         Debtor 1                   Debtor 2 or
                                                                                                                                    non-filing spouse
    2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
       payroll deductions).                                                               $                               0.00      $              0.00
    3. Alimony and maintenance payments. Do not include payments from a spouse if
       Column B is filled in.                                                             $                               0.00      $              0.00
    4. All amounts from any source which are regularly paid for household expenses
       of you or your dependents, including child support. Include regular contributions
       from an unmarried partner, members of your household, your dependents, parents,
       and roommates. Include regular contributions from a spouse only if Column B is not
       filled in. Do not include payments you listed on line 3.                           $                               0.00      $              0.00
    5. Net income from operating a business, profession, or farm
                                                                         Debtor 1
          Gross receipts (before all deductions)                  $                 7,844.90
          Ordinary and necessary operating expenses              -$                     0.00
          Net monthly income from a business,                                                  Copy
          profession, or farm                                     $                 7,844.90 here -> $              7,844.90        $              0.00
    6. Net income from rental and other real property
                                                                                    Debtor 1
          Gross receipts (before all deductions)                         $         0.00
          Ordinary and necessary operating expenses                     -$         0.00
          Net monthly income from rental or other real property         $          0.00 Copy here -> $                    0.00      $              0.00
                                                                                                         $                0.00      $              0.00
    7. Interest, dividends, and royalties




  Official Form 122A-1                                 Chapter 7 Statement of Your Current Monthly Income                                                         page 1




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   Debtor 1     Jose Manuel Quinones                                                                    Case number (if known)   2:22-bk-12889


                                                                                                    Column A                     Column B
                                                                                                    Debtor 1                     Debtor 2 or
                                                                                                                                 non-filing spouse
    8. Unemployment compensation                                                                    $                  0.00      $            0.00
         Do not enter the amount if you contend that the amount received was a benefit under
         the Social Security Act. Instead, list it here:
            For you                                          $                    0.00
              For your spouse                                     $                    0.00
    9. Pension or retirement income. Do not include any amount received that was a
        benefit under the Social Security Act. Also, except as stated in the next sentence, do
        not include any compensation, pension, pay, annuity, or allowance paid by the
        United States Government in connection with a disability, combat-related injury or
        disability, or death of a member of the uniformed services. If you received any retired
        pay paid under chapter 61 of title 10, then include that pay only to the extent that it
        does not exceed the amount of retired pay to which you would otherwise be entitled
        if retired under any provision of title 10 other than chapter 61 of that title.         $                      0.00      $            0.00
    10. Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act; payments
        received as a victim of a war crime, a crime against humanity, or international or
        domestic terrorism; or compensation pension, pay, annuity, or allowance paid by the
        United States Government in connection with a disability, combat-related injury or
        disability, or death of a member of the uniformed services. If necessary, list other
        sources on a separate page and put the total below..
                 .                                                                              $                      0.00      $            0.00
                                                                                                    $                  0.00      $            0.00
                   Total amounts from separate pages, if any.                                  +    $                  0.00      $            0.00

    11. Calculate your total current monthly income. Add lines 2 through 10 for
        each column. Then add the total for Column A to the total for Column B.            $       7,844.90          +   $           0.00     =   $      7,844.90

                                                                                                                                                  Total current monthly
                                                                                                                                                  income

   Part 2:        Determine Whether the Means Test Applies to You

    12. Calculate your current monthly income for the year. Follow these steps:
         12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>             $          7,844.90

                Multiply by 12 (the number of months in a year)                                                                                       x 12
         12b. The result is your annual income for this part of the form                                                                12b. $          94,138.80

    13. Calculate the median family income that applies to you. Follow these steps:

         Fill in the state in which you live.                              CA

         Fill in the number of people in your household.                    4
         Fill in the median family income for your state and size of household.                                                         13.   $        111,535.00
         To find a list of applicable median income amounts, go online using the link specified in the separate instructions
         for this form. This list may also be available at the bankruptcy clerk’s office.
    14. How do the lines compare?
         14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                       Go to Part 3. Do NOT fill out or file Official Form 122A-2.
         14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A–2.
   Part 3:        Sign Below
                By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

               X /s/ Jose Manuel Quinones
                  Jose Manuel Quinones
                  Signature of Debtor 1

  Official Form 122A-1                               Chapter 7 Statement of Your Current Monthly Income                                                          page 2




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   Debtor 1   Jose Manuel Quinones                                                           Case number (if known)   2:22-bk-12889
          Date June 7, 2022
               MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




  Official Form 122A-1                               Chapter 7 Statement of Your Current Monthly Income                                      page 3




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   Debtor 1   Jose Manuel Quinones                                                 Case number (if known)   2:22-bk-12889


                                        Current Monthly Income Details for the Debtor

  Debtor Income Details:
  Income for the Period 11/01/2021 to 04/30/2022.

  Line 5 - Income from operation of a business, profession, or farm
  Source of Income: Draws from the Mint Leaf Construction
  Income/Expense/Net by Month:
                           Date                          Income                          Expense                            Net
   6 Months Ago:                 11/2021                      $12,146.00                                $0.00                 $12,146.00
   5 Months Ago:                 12/2021                       $6,482.00                                $0.00                  $6,482.00
   4 Months Ago:                 01/2022                       $9,320.40                                $0.00                  $9,320.40
   3 Months Ago:                 02/2022                       $4,332.00                                $0.00                  $4,332.00
   2 Months Ago:                 03/2022                       $7,786.00                                $0.00                  $7,786.00
   Last Month:                   04/2022                       $7,003.00                                $0.00                  $7,003.00
                       Average per month:                      $7,844.90                                $0.00
                                                                            Average Monthly NET Income:                           $7,844.90




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